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IN THE UNITED STATES DISTRICT COURT FOR THE
EASTERN DISTRICT OF VIRGINIA

Alexandria Division
UNITED STATES OF AMERICA
Vv. Case No. 1:24-mj-247
TRE ROSE,
Defendant.
AFFIDAVIT IN SUPPORT OF A

CRIMINAL COMPLAINT AND ARREST WARRANT
I, Jesse Adams, being first duly sworn, hereby depose and state as follows:
INTRODUCTION AND AGENT BACKGROUND

1. I have been a Special Agent with the Bureau of Alcohol, Tobacco, Firearms and
Explosives (“ATF”) since 2018. I am currently assigned to the Washington Field Division’s
Falls Church Group II. My assignments include investigating individuals who are involved in
the illegal possession and transfer of firearms, violent crimes involving firearms, thefts and
burglaries of Federal Firearm Licensees (“FFLs”), commercial robberies, and armed narcotics
trafficking. As an ATF Special Agent, I have authority to execute arrest and search warrants
under the authority of the United States. See 18 U.S.C. § 3051. Prior to my appointment with
the ATF, I was a sworn law enforcement officer with the United States Marshals Service for
over four years, and a sworn law enforcement officer with the Commonwealth of Virginia for
over seven years.

2. I submit this affidavit in support of a criminal complaint and arrest warrant
charging TRE ROSE (“ROSE”) with aiding and abetting the making of false statements with

respect to information required to be kept in the records of an FFL, in violation of 18 U.S.C.
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§§ 924(a)(1)(A) and 2.

3. The facts and information contained in this affidavit are based upon my personal
knowledge, training, and experience, as well as information and evidence obtained from other
law enforcement officials and witnesses. All observations I did not personally make were
relayed to me by the individuals who made them or come from my review of records,
documents, and other physical evidence obtained during the course of this investigation. This
affidavit contains information necessary to support probable cause for this application. It is not
intended to include each and every fact and matter observed by me or known to the government.

4, All firearms referenced in this affidavit are “firearms” as defined by 18 U.S.C.

§ 921(a)(3). None of the firearms referenced in this affidavit were manufactured in the
Commonwealth of Virginia; therefore, they traveled in and/or affected interstate and/or foreign
commerce,

PROBABLE CAUSE

5. This investigation stems from a firearm-related homicide that occurred on or
about October 21, 2019, in Prince William County, Virginia, within the Eastern District of
Virginia. In the course of assisting the Prince William County Police Department with its
investigation, ATF agents discovered evidence suggesting that, between approximately
September 18, 2019 and October 17, 2019, a co-conspirator whose identify is known to me but
who for purposes of this affidavit I will refer to as CC-1, straw-purchased five Glock pistols
from FFLS located within the Eastern District of Virginia.

6. Through my training and experience, I am aware that federal law prohibits FFLs
from selling a firearm to a non-licensee purchaser “unless the [FFL] records the transaction on a

firearms transaction record, Form 4473.” 27 C.F.R. § 478.124(a). The law further requires FFLs
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to retain “as a part of the required records, each Form 4473 obtained in the course of transferring

custody of the firearms.” Jd. § 478.124(b). Accordingly, any false statement a purchaser makes

on a Form 4473 pertains to information an FFL is required by law to maintain.

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For each of the five firearms that CC-1 purchased from the FFLs in five separate

transactions, CC-1 was required by law to truthfully fill out an ATF Form 4473. In 2019,

Question 11.a. on ATF Form 4473 read:

Are you the actual transferee/buyer of the firearm(s) listed on this form? Warning:
You are not the actual transferee/buyer if you are acquiring the firearm(s) on
behalf of another person. If you are not the actual transferee/buyer, the
licensee cannot transfer the firearm(s) to you.

On each occasion, CC-1 responded “yes” to Question 1 1.a.

8.

In Section 14 of each ATF Form 4473, CC-1 certified by signature that his

answers on the form were “true, correct, and complete,” and that he understood that “making any

false oral or written statement, or exhibiting any false or misrepresented identification with

respect to [the] transaction, is a crime punishable as a felony under Federal law.”

A. Recovery of Five Firearms Purchased by CC-1 in 2019
9. The following chart reflects information about the firearms that CC-1 purchased

in less than one month’s time, including each firearm

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s “time to crime,” i.e., the period of time

that elapsed between the first retail sale of the firearm and law enforcement’s recovery of that

firearm following its use, or suspected use, in a crime:

Date Make | Model | Caliber | Serial No. FFL Date Time to

Purchased Recovered | Crime
Firearm 1 | 09/18/19 Glock | 23 AOS&W | LCT134 SSG 11/30/19 73 days
Firearm 2 | 10/10/19 Glock | 27 A0S&W | BKWX908 | SSG 11/15/19 | 36 days

Firearm 3 | 10/11/19 Glock | 30 45 ACP | BEDSO90_ | Liberty | 01/17/21 464 days
Firearm 4 | 10/14/19 Glock | 27 4A0S&W | BKGP937 | SSG 11/7/19 24 days
Firearm 5 | 10/17/19 Glock | 26 9mm BGBS298 Gander | 11/16/19 84 days

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10. On or about October 10, 2019, CC-1 purchased Firearm 2 from SSG Tactical, an
FFL located in Fredericksburg, Virginia. ATF obtained surveillance video from SSG Tactical
from the day of the purchase. The surveillance video shows that earlier in the day, ROSE and a
co-conspirator whose identity is known to me but who for purposes of this affidavit I will refer
to as CC-2, both of whom are known associates of CC-1 and convicted felons prohibited from
possessing firearms, approached SSG Tactical from an area beyond the view of the FFL’s
exterior cameras and entered the store together at approximately 5:49pm. The video footage
shows that ROSE and CC-2 perused the pistols on display before leaving the store less than 15
minutes later. Approximately three minutes after ROSE and CC-2 exited SSG Tactical and
walked away, CC-1 approached the store on foot from the same direction and entered the store.
CC-1 immediately proceeded to the rear left corner of the store where the Glock firearms were
displayed. Within two minutes, CC-1 selected for purchase Firearm 2 from the same display
case that ROSE and CC-2 had just perused. CC-1 completed the paperwork required to
purchase the firearm, paid for it, and left SSG Tactical with it.

11. Firearm 2 was recovered the following month in the possession of a different
individual in Alexandria, Virginia.

12. On or about November 7, 2019, Firearm 4 was recovered from ROSE’s person
during a search incident to his arrest.

13. On or about November 13, 2019, ATF executed a federal search warrant at
ROSE’s residence in Fredericksburg, Virginia. ATF recovered two Glock firearm boxes marked
with serial numbers matching two of the firearms CC-1 purchased (specifically, Firearm 2 and

Firearm 4).
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14. On or about November 16, 2019, Firearm 5 was recovered from an individual
who claimed to have purchased it from CC-2. That firearm was later determined to be the
weapon used in the October 21, 2019 homicide mentioned above.

B. ROSE Interview

15. On or about November 13, 2019, detectives with the Prince William County
Police Department interviewed ROSE after mirandizing him. During the interview, ROSE
stated that CC-1 obtained firearms for him and a co-conspirator whose identify is known to me
but who for purposes of this affidavit I will refer to as CC-3. ROSE admitted that CC-1
purchased multiple firearms for him. ROSE stated that he provided CC-1 with cash and
marijuana in exchange for purchasing the firearms. ROSE stated that CC-1 purchased Firearm
4—i.e., the firearm that ROSE had on him when he was arrested on or about November 7,

2019. ROSE also stated that CC-1 purchased Firearm 5—i.e., the firearm used in the homicide.

C. Preliminary Analysis of ROSE’s Instagram Account

16. Aspart of this investigation, law enforcement reviewed music videos publicly
posted to YouTube featuring an individual that law enforcement recognized as ROSE. At the
conclusion of the videos, ROSE frequently advertised his Instagram user identities so that
interested individuals could “follow” him on the social media platform. Specifically, ROSE is
observed in music videos uploaded to YouTube identifying his Instagram username as
“tresavagee.y 100.”

17. Areview of the public Instagram account tresavagee.y 100 revealed numerous
photographs of an individual that law enforcement recognized as ROSE, including some
photographs of ROSE in possession of firearms. For instance, on or about October 15, 2019,

the user of that handle posted a photo that shows ROSE holding four firearms with another two
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firearms visible on his lap. Of those six firearms, four of them, based on my training and
experience, appear to be Glock pistols in the same models as the four firearms that CC-1 had
purchased by that point.

18. Onor about March 21, 2024, I obtained a federal warrant authorizing the search
of Instagram account tresvagee.y100. A review of the records provided pursuant to that search
warrant show that on several occasions other Instagram accounts refer to the user of
tresavagee.y100 as ROSE. In addition, on several occasions the user of Instagram account
tresavagee.y100 refers to himself as ROSE.

19. The Instagram records also show communications between tresavagee.y 100 and
another Instagram account that, based on publicly available photographs associated with it, I
believe to belong to CC-1.

20. Onor about September 18, 2019—the day CC-1 purchased Firearm 1—ROSE

and CC-I exchanged the following messages!:

' CC-1’s Instagram handle has been redacted.
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Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-09-18 18:48:49 UTC
Body You got any charges ?

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-09-18 18:48:56 UTC
Body Ili pay you to get me a dawg

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-09-18 18:49:08 UTC
Body Just report it stolen

Suthor EEA seis ORS)

Sent 2019-09-18 18:50:12 UTC
Body How much u going pay me

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-09-18 18:52:10 UTC
Body 50n some gas
Based on my training and experience, I know that “dawg” and “gas” are slang terms for firearm
and marijuana, respectively.

21. Onor about October 10, 2019—the day CC-1 purchased Firearm 2—ROSE and

CC-1 exchanged the following messages:
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Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
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Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

Author
Sent
Body

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:50:56 UTC
Damn brodie

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:51:03 UTC
Aight doe bruh

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:51:12 UTC
We waitin out front

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:52:17 UTC

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Ima just go to da store rq im be like 15 mins you be good by den ?

2019-10-10 20:55:45 UTC
Idk

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:56:10 UTC

Damn bruh i need this shit getting wicked bruh niggas jah on ny

ass im

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:56:53 UTC
Da place close @ 7

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 20:57:55 UTC
| wouldnt be pressin if i aint need it brudda

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 21:10:49 UTC
You good brodie ?

2019-10-10 21:14:26 UTC
Yeah give me 5 min

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 21:14:41 UTC
Aight bet we gon be out frizont

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 21:22:39 UTC
You ready ?

2019-10-10 21:23:16 UTC
Yeah

tresavagee.y100 (Instagram: 12403738688)
2019-10-10 21:29:40 UTC
We outside

22.  Onthe same day, ROSE and CC-1 exchanged the following messages:
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Author Se eee Agee

Sent 2019-10-10 21:31:54 UTC
Body Arrd im looking for my wallet

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-10 21:32:00 UTC
Body Aight

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-10 22:16:02 UTC
Body Shit good brudda ?

The surveillance video from SSG Tactical on or about October 10, 2019, shows an individual
that law enforcement recognizes as CC-1 enter SSG Tactical at approximately 6:06pm and leave
at approximately 6:48pm. Therefore, the last message was sent while CC-1 was inside SSG
Tactical.”

23. On or about October 11, 2019—the day CC-1 purchased Firearm 3— ROSE and

CC-1 exchanged the following messages:

? In October of 2019, Eastern Daylight Time (“EDT”) was four hours behind Coordinated
Universal Time (“UTC”).
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Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-11 14:49:10 UTC
Body Yoyo brudda smith

Author
Sent 2019-10-11 15:56:47 UTC
Body Yoi just woke up and my step fsther told mei shouod go get
another joint for ah notber week or later

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-11 16:14:25 UTC
Body Damn i sold my joint last nigath ce

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-11 16:14:30 UTC
Body For 700

Author
Sent 2019-10-11 19:21:32 UTC
Body Wtf bruh

Author tresavegee.y100 (Instagram: 12403/38688)
Sent 2019-10-11 20:09:22 UTC
Body Bruh i gotta help my favah pay bills he needed 100

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-11 20:09:41 UTC
Body | got you with some bread of you get dis last joint

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-11 20:10:02 UTC
Body idgaf bout dem ova niggas frfr

‘co ia aes Sis |

Sent
2019-10-11 20:10:45 UTC
Body We gotta get it from somewhere else abd how much

24. Onor about October 17, 2019—the day CC-1 purchased Firearm 5— ROSE and

CC-1 exchanged the following messages:

Autho
Sent 2019-10-17 22:42:50 UTC
Body Im here nigga wya

Author tresavagee.y100 (Instagram: 12403738688)
Sent 2019-10-17 22:43:20 UTC
Body Passing chipotle

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CONCLUSION
Based upon the foregoing facts, I submit there is probable cause to conclude that, on or
about October 10, 2019, within the Eastern District of Virginia, the defendant, TRE ROSE, did
knowingly aid and abet the making of a false statement with respect to information required to be
kept in the records of an FFL, in violation of 18 U.S.C. §§ 924(a)(1)(A) and 2.
JESSE ADAMS ate 2t2a0617 1138:56-0000

Jesse Adams, Special Agent
Bureau of Alcohol, Tobacco, Firearms, and Explosives

Respectfully submitted and attested to in
accordance with the requirements of Fed. R.
Crim. P. 4.1 via telephone on June 17,
2024.

. Digitally signed by Lindsey R Vaala
Lindsey R Vaala pite:202406.17 15:16:56 -0400

The Honorable Lindsey R. Vaala
United States Magistrate Judge

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